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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 24-CV-25046-RAR

  XYZ CORPORATION,

                Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS,
  AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED
  ON SCHEDULE “A,”

              Defendants.
  ______________________________________/

                       ORDER DISMISSING CERTAIN DEFENDANTS

         THIS CAUSE comes before the Court upon Plaintiff’s Notices of Voluntary Dismissal as

  to Defendants SeptBot (No. 18), [ECF No. 50], and ymokee (No. 111), gomok (No. 113), and

  petoto (No. 114), [ECF No. 51]. The Court being fully advised, it is hereby

         ORDERED AND ADJUDGED that Defendants SeptBot (No. 18), ymokee (No. 111),

  gomok (No. 113), and petoto (No. 114) are all hereby DISMISSED with prejudice.

         DONE AND ORDERED in Miami, Florida, this 20th day of March, 2025.



                                                     _________________________________
                                                     RODOLFO A. RUIZ II
                                                     UNITED STATES DISTRICT JUDGE
